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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-188V
                                     Filed: August 15, 2019
                                         UNPUBLISHED


    THERESA SELMER,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Guillain-
    HUMAN SERVICES,                                          Barre Syndrome (GBS)

                       Respondent.


Amber Diane Wilson, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.
Amy Paula Kokot, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On February 7, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”) as
a result of an influenza (“flu”) vaccination administered on October 27, 2016. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On March 18, 2019, a ruling on entitlement was issued, finding petitioner entitled
to compensation for GBS. On August 14, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $119,884.04

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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consisting of $115,000.00 for pain and suffering, and $4,884.04 for out-of-pocket
expenses. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Id. Based on the record as a whole, the undersigned finds
that petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $119,884.04 (consisting of $115,000.00 for pain
and suffering, and $4,884.04 for out-of-pocket expenses) in the form of a check
payable to petitioner, Theresa Selmer. This amount represents compensation for all
damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                             )
THERESA SELMER,                              )
                                             )
               Petitioner,                   )
                                             )       No. 18-188V (ECF)
v.                                           )       Chief Special Master Dorsey
                                             )
SECRETARY OF HEALTH AND                      )
HUMAN SERVICES,                              )
                                             )
               Respondent.                   )
                                             )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Compensation for Vaccine Injury-Related Items

       On March 14, 2019, respondent filed his Rule 4(c) Report conceding entitlement in the

above-captioned case. Chief Special Master Dorsey issued a Ruling on Entitlement on March 18,

2019, finding that petitioner was entitled to vaccine compensation for her Guillain-Barré

Syndrome. Based on the evidence of record, respondent proffers that petitioner should be awarded

$119,884.04. This amount includes $115,000.00 for pain and suffering and $4,884.04 for out-of-

pocket expenses, and it represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner be made through a

lump sum payment of $119,884.04 in the form of a check payable to petitioner.1 Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.




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       Should petitioner die prior to the entry of judgment, respondent reserves the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.
                                                 1
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                                           Respectfully submitted,

                                           JOSEPH H. HUNT
                                           Assistant Attorney General

                                           C. SALVATORE D’ALESSIO
                                           Acting Director
                                           Torts Branch, Civil Division

                                           CATHARINE E. REEVES
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           ALEXIS B. BABCOCK
                                           Assistant Director
                                           Torts Branch, Civil Division

                                           s/Amy P. Kokot
                                           AMY P. KOKOT
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                                           Washington, DC 20044-0146
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Dated:      August 14, 2019




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